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                     UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF NextGen 1.6.3
                                Eastern Division

Hadi Abuatelah
                               Plaintiff,
v.                                                    Case No.: 1:22−cv−03998
                                                      Honorable Steven C. Seeger
Officer One, et al.
                               Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, August 29, 2022:


        MINUTE entry before the Honorable Steven C. Seeger: The motion for an agreed
protective order (Dckt. No. [9]) is hereby granted. Protective Order to follow. Plaintiff
began its filing with a "Notice of Filing." The Court directs Plaintiff's counsel to read this
Court's Standing Order entitled "Notice of Motion vs. Notice of Filing." A notice of filing
is unnecessary. The Court also directs all counsel to read Local Rule 5.5 about certificates
of service. Mailed notice. (jjr, )




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Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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